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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
)
BRYAN MESSENGER, )
)
Plaintiff, )
) Case No. 3:17-cv-03755-FLW-DEA
Vv. )
)
NATIONAL BOARD OF MEDICAL )
EXAMINERS, )
)
Defendant. )

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Bryan Messenger and defendant

National Board of Medical Examiners, by and through their attorneys, hereby stipulate to the

dismissal of plaintiff's Complaint and all claims asserted therein, with prejudice, each side to

bear its own costs and expenses except as otherwise agreed upon by the parties.

SO STIPULATED this __ day of November, 2017:

/s/ Clara R. Smit

Clara R. Smit

Law Office of Clara R. Smit
100 Horizon Center Boulevard
Hamilton, New Jersey 08691
Telephone: (732) 843-6600

crsmitlaw@aol.com

Mary M. Vargas (pro hac vice)
Martha M. Lafferty (pro hac vice)
Stein & Vargas, LLP

840 First Street NE, Third Floor
Washington, DC 20002
Telephone: (202) 248-5092

Counsel for Plaintiff

/s/ Felice B. Galant

 

Felice B. Galant

Norton Rose Fulbright US LLP

1301 Avenue of the Americas

New York, NY 10019-6022
Telephone: (212) 318-3000
felice.galant@nortonrosefulbright.com

Robert A. Burgoyne (pro hac vice)
Norton Rose Fulbright US LLP
799 9th Street, NW, Suite 1000
Washington, D.C. 20001
Telephone: (202) 662-0200

Counsel for Defendant
